                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA


TREX PROPERTIES LLC,                                   )
                                                       )
               Plaintiff,                              )
                                                       )
       v.                                              )   Case No. 3:21-CV-00458-KDB-DSC
                                                       )
5 STAR AUTO COLLISION, INC., et al.,                   )
                                                       )
               Defendants.                             )

                                               ORDER

       Pending before the Court is Plaintiff’s Unopposed Motion to Dismiss Defendant Coveris

Flexibles US Inc. with Prejudice. (Dkt. No. 1633). Having considered the Motion and for good

cause shown, Plaintiff’s Unopposed Motion to Dismiss Coveris Flexibles US Inc. is GRANTED.

Defendant Coveris Flexibles US Inc. is dismissed from this cause with prejudice, with each party

to bear its own costs.

       It is so ORDERED.



                            Signed: June 24, 2022




     Case 3:21-cv-00458-KDB-DSC Document 1634 Filed 06/24/22 Page 1 of 1
